E I Tu Jd Magistrate Judge Fuentes b= LO NY
Randomly Assigned CAT 2

APR 19 2023 \{>

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Case: 1:23-cr-00239 Dogyunent #: 3 Filed: 04/19/23 Page 1 of 1 PagelD #:7

Judge Gettleman

 

UNITED STATES DISTRICT COURT
AS G. BRUTON NORTHERN DISTRICT OF ILLINOIS

CLERK, U.S. DISTRICT COURT

DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS

L. Is this an indictment or information arising out of offenses charged in one or more
previously-filed complaints signed by a magistrate judge? (You must answer 1b even if the
answer is No) No.

la. If the answer is “Yes,” list the case number and title of the earliest filed
complaint:

lb. Should this indictment or information receive a new case number from the

court? yes

2. Is this an indictment or information that supersedes one or more previously-filed
indictments or informations? No.

2a. If the answer is “Yes,” list the case number and title of the earliest filed
superseded indictment or information and the name of the assigned judge (Local Rule

40.3(b)(2)):

3. Is this a re-filing of a previously dismissed indictment or information? No.

4. Is this a case arising out of the failure of the defendant to appear in a criminal
proceeding in this Court? No.

5. Is this a transfer of probation supervision from another district to this District? No.
6. What level of offense is this indictment or information? Class A felony.

7. Does this indictment or information involve eight or more defendants? No.

8. Does this indictment or information include a conspiracy count? Yes.

9. Identify the type of offense that describes the count, other than any conspiracy count,

with the most severe penalty: III - attempted possession with intent to distribute a
controlled substance

10. List the statute of each of the offenses charged in the indictment or information.
21 U.S.C. 846 (conspiracy to distribute and possess with intent to

distribute a controlled substance); 21 U.S.C. 841(a)(1) (attempted
possession with intent to distribute a controlled substance)

/s/ Patrick Mott

Assistant United States Attorney
